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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

J. DOES 1-26,
Plaintiffs,
V.

ELON MUSK,
in his official capacity, Civil Action No. 25-0462-TDC
UNITED STATES DOGE SERVICE
and

THE DEPARTMENT OF
GOVERNMENT EFFICIENCY,

Defendants.

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 17, is GRANTED IN
PART and DENIED IN PART. The Motion is granted in that the Court grants and issues the

accompanying Preliminary Injunction. The Motion is otherwise denied.

Date: March 18, 2025

THEODORE
United States
